            Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 1 of 26                               FILED
                                                                                               2018 Sep-06 AM 11:12
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NOTHERN DISTRICT OF ALABAMA
                             NORTHWESTERN DIVISION

CENTER FOR BIOLOGICAL DIVERSITY,
ALABAMA CENTER FOR SUSTAINABLE
ENERGY d/b/a ENERGY ALABAMA,
FRIENDS OF THE EARTH, GASP, and
SOUTHERN ALLIANCE FOR CLEAN                                Civil Action No.:_____________
ENERGY,
                 Plaintiffs,
     v.

TENNESSEE VALLEY AUTHORITY,

                       Defendant.

             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                       INTRODUCTION

       1.       This suit challenges the Tennessee Valley Authority’s (“TVA”) new rate

structure, in which TVA is discouraging businesses and homeowners from investing in

renewable energy and energy efficiency measures. The growth in solar energy systems, energy

efficiency, and other forms of Distributed Energy Resources, including energy storage—

collectively called “DER” —will inevitably reduce demand for TVA-generated electricity, from

which TVA derives its income. In response to this competition, TVA’s “2018 Anti-Solar Rate

Changes” are designed to discourage the development of DER in three primary ways. First, the

Rate Changes reduce electricity rates for large commercial customers, thus removing financial

advantages of DER investment. Second, the Rate Changes—for the first time—impose a Grid

Access Charge (“GAC”) which will require Local Power Companies to charge residential and

small business customers a mandatory fee regardless of electricity usage, thereby impeding DER

adoption in this customer class. Finally, TVA is discounting the price of electricity for greater

                                                 1
            Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 2 of 26



electricity usage, discriminating against consumers who consume less energy or who implement

energy efficiency measures. Taken together, these measures are designed to obstruct DER

adoption across all customer classes, in order to maximize the amount of electricity customers

continue to obtain from TVA—primarily dirty electricity derived from coal and other polluting

energy sources.

       2.         The National Environmental Policy Act, 42 U.S.C. § 4321, et seq. (“NEPA”) —

our “national charter for protection of the environment,” 40 C.F.R. § 1500—requires that federal

agencies like TVA prepare an Environmental Impact Statement (“EIS”) for any decision that

may have a significant impact on the environment. Where an agency is uncertain whether an

EIS is required, it may first prepare an Environmental Assessment (“EA”) to aid in that

determination. See generally 50 C.F.R. Part 1500.

       3.       Before approving these Anti-Solar Rate Changes, TVA purported to comply with

NEPA by preparing an EA and issuing a Finding of No Significant Impact (“FONSI”).

However, although TVA is imposing these Anti-Solar Rate Changes to further its customers’

continued reliance on TVA-generated power, TVA incongruously concluded that the Rate

Changes will have no discernible impacts on the environment.

       4.       In addition, the EA and FONSI entirely ignored that, at the same time these rate

changes are being made, TVA has also made a separate Anti-Solar Rate Change that will even

further discourage distributed generation (“DG”), reducing how much TVA pays for the

electricity generated by DG customers (“DG Rates”).

       5.       TVA is violating NEPA by failing to disclose and consider the reasonably

foreseeable environmental impacts of all of these Anti-Solar Rate Changes. In addition, because

these changes will have significant environmental impacts, TVA may not implement these Rate



                                                 2
            Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 3 of 26



Changes, or decide whether to impose them, without first completing an EIS. Accordingly, by

this action, Plaintiffs seek appropriate relief directing TVA to comply with NEPA in connection

with its 2018 Anti-Solar Rate Changes.

                                 JURISDICTION AND VENUE

       6.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.

       7.       Venue properly vests in this Court pursuant to 28 U.S.C. 1391(e)(1), which

provides for venue over federal agencies, and 16 U.S.C. § 831g(a), which provides venue over

TVA in this District.

                                             PARTIES

       8.       Plaintiff Center for Biological Diversity (“the Center”) is a national, non-profit

conservation organization with offices throughout the United States, including in the Southeast.

The Center has more than 1.5 million members and online activists who care about the country’s

urgent need to expedite its renewable energy transition and the protection of human health, the

natural environment, and species from the ravages of climate change and other environmental

harms. The Center’s Climate Law Institute fights against climate change by, inter alia,

promoting the just and rapid transition to renewable energy resources, which includes

challenging barriers deployed by utilities and utility regulators to stifle the advancement of

rooftop solar and other clean energy sources. As part of these efforts, the Center submitted

extensive comments on TVA’s 2018 Anti-Solar Rate Changes.

       9.       The Center brings this action on its own institutional behalf and on behalf of its

members, more than 4,500 of whom live in the states served by TVA. This includes the Center’s

more than 200 members who live in Alabama. Those Center members who live in TVA’s



                                                  3
          Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 4 of 26



service territory are harmed by TVA’s failure to comply with NEPA in imposing the Anti-Solar

Rate Changes because these changes will both dis-incentivize investments in rooftop solar

systems and reduce the benefits of energy efficiency or other measures that would reduce

electricity generated from TVA’s polluting energy sources. Those polluting energy sources, in

turn, release toxic pollutants and greenhouse gas emissions that endanger the environment and

public health, thus further harming Center members and their ability to enjoy healthy air and a

stable climate.

       10.        Plaintiff Alabama Center for Sustainable Energy (dba Energy Alabama) is a

statewide, non-profit organization advocating for the transition to sustainable energy in Alabama.

Energy Alabama has more than 2,000 members and online activists who support sustainable

energy in the State of Alabama for its beneficial economic, social, and environmental

performance. Energy Alabama works to accelerate the transition to sustainable energy through

public education at all levels, advocacy for just energy policy, and the provision of technical

assistance to those working to improve the energy performance of their homes and businesses.

Energy Alabama members submitted comments on TVA’s Grid Access Charge proposal and

spoke directly to the TVA Board of Directors urging them to consider different mechanisms for

rate recovery.

       11.        Energy Alabama brings this action on its own institutional behalf and on behalf of

its members, more than 50 of whom live in the Alabama territory served by TVA and are thus

impacted by the Anti-Solar Rate Changes. Energy Alabama members are harmed by TVA’s

failure to comply with NEPA in imposing the Rate Changes because they disproportionately

affect both low-income customers and customers that use lower amounts of energy. The Rate

Changes also provide a direct financial disincentive to invest in energy efficiency. Additionally,



                                                   4
          Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 5 of 26



the Rate Changes will increase the cost for affected Alabama residents to invest in rooftop solar

systems. In light of the resulting reductions in energy efficiency and renewable energy, TVA

will increase its reliance on its existing fossil fuel generation, which creates more air pollution,

including greenhouse gas emissions that threatens the environment, thus further harming Energy

Alabama members.

       12.     Plaintiff Friends of the Earth (“FoE”) is a national non-profit environmental

advocacy organization founded in 1969. FoE has offices in Berkeley, California and

Washington, D.C, where it is incorporated. Its mission is to defend the environment and

champion a healthy and just world. FoE’s current campaigns focus on promoting clean energy

and solutions to climate change, ensuring the food we eat and products we use are sustainable

and safe for our health and the environment, defending tropical forests and the rights of forest-

dwelling people, and protecting marine ecosystems and the people who live and work near them.

FoE has more than 380,000 members in all fifty states and more than 3,000 living in the TVA

service area. Additionally, FoE has more than 1.5 million activists on its email list throughout

the United States including thousands who reside in the TVA service area. FoE has a history of

working on issues relating to nuclear safety and energy access in the TVA service area. Most

recently, the organization has been working on the need to bolster efficiency and renewable

energy resources in the TVA service area rather than continuing to use dirty and dangerous fossil

fuel and nuclear power resources. To that end, FoE submitted comments on the TVA's draft

Environmental Assessment for its 2018 Rate Change in April.

       13.         FoE brings this action on its own institutional behalf and on behalf of its

members, more than 3,000 of whom live in the TVA service area. Those members are harmed by

TVA’s failure to comply with NEPA in imposing the Anti-Solar Rate Changes because these



                                                  5
          Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 6 of 26



changes will both dis-incentivize investments in rooftop solar systems, and reduce the benefits of

energy efficiency or other measures that would reduce electricity generated from TVA’s

polluting energy sources. Those polluting energy sources, in turn, release toxic pollutants and

greenhouse gas emissions that endanger the environment and public health, thus further harming

FoE members and their ability to enjoy healthy air and a stable climate.

       14.     Plaintiff Gasp is an Alabama 501(c)(3) nonprofit organization headquartered in

Birmingham, Alabama. Gasp seeks to improve the environment, economy and public health of

Alabama. Presently, Gasp has more than 700 members in Alabama and more than 16,000 online

activists who support the organization’s mission to reduce air pollution through education and

advocacy and its work to promote a just and rapid transition to clean, renewable energy. Gasp

has more than 16,000 members and online activists who support the organization's mission to

reduce air pollution through education and advocacy and its work to promote a just and rapid

transition to clean, renewable energy.

       15.     Gasp brings this action on its own institutional behalf and on behalf of its

members, dozens of whom live in areas served by TVA. Those Gasp members who live in

TVA’s service territory are adversely affected by TVA’s failure to comply with NEPA in

imposing the Anti-Solar Rate Changes because they disproportionately affect both low-income

customers and customers that use lower amounts of energy. These changes will dis-incentivize

investments in rooftop solar systems and reduce the benefits of energy efficiency or other

measures that would reduce electricity generated from TVA’s polluting energy sources. Those

polluting energy sources, in turn, release toxic pollutants and greenhouse gas emissions that

endanger the environment and public health, thus further harming Gasp members and their

ability to enjoy healthy air and a stable climate



                                                    6
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 7 of 26



       16.     Plaintiff Southern Alliance for Clean Energy (“SACE”) is a non-profit

organization that promotes responsible energy choices that work to address the impacts of global

climate change and ensure clean, safe and healthy communities throughout the Southeast. After

more than 30 years, SACE remains the only regional organization solely focused on

transforming the way we produce and consume energy in the Southeast. SACE has more than

15,000 members and online activists in the states served by TVA who are concerned about

reducing emissions that contribute to extreme weather from climate change; creating jobs and

economic development in the clean energy sector; and reducing electric bills burden through

effective efficiency programs.

       17.     SACE brings this action on its own institutional behalf and on behalf of its more

than 700 members and nearly 5,000 supporters who live in the Tennessee, and are impacted by

the decision under review. SACE’s members are concerned by the short public input timeline,

the lack of transparency and TVA’s failure to provide sufficient information to support its

preferred alternative in the Draft 2018 Rate EA. SACE members are harmed by TVA’s failure to

comply with NEPA in imposing the Rate Change because they will be impacted by higher air

and water pollution emissions caused by the rate change. Additionally, they will be less able to

reduce their bills through solar energy or energy efficiency, contrary to the directive of the TVA

Act to prioritize low-cost electricity for all customers. SACE submitted extensive comments on

TVA’s 2018 Rate Changes.

       18.     Defendant Tennessee Valley Authority is a corporate agency and instrumentality

of the United States, created by and existing pursuant to the Tennessee Valley Authority Act of

1933, 16 U.S.C. § 831, et seq. (“TVA Act”). The TVA Act provides that TVA “[m]ay sue or be

sued in its corporate name,” 16 U.S.C. §831c(j), and “shall be held to be an inhabitant and



                                                 7
            Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 8 of 26



resident of the northern judicial district of Alabama within the meaning of the laws of the United

States relating to the venue of civil suits.” Id. 831g(a).

                                 STATUTORY FRAMEWORK

       A.       The National Environmental Policy Act

       19.      NEPA and its implementing regulations require all agencies of the federal

government to prepare a “detailed statement” regarding all “major federal actions significantly

affecting the quality of the human environment.” 42 U.S.C. § 4332(C). This statement, known

as an Environmental Impact Statement (“EIS”), must describe (1) the “environmental impact of

the proposed action,” (2) any “adverse environmental effects which cannot be avoided should the

proposal be implemented,” (3) alternatives to the proposed action, (4) the “the relationship

between local short-term uses of man’s environment and the maintenance and enhancement of

long-term productivity,” and (5) any “irreversible or irretrievable commitment of resources

which would be involved in the proposed action should it be implemented.” 42 U.S.C. § 4332.

       20.      The Council on Environmental Quality—an agency within the Executive Office

of the President—has promulgated regulations implementing NEPA, which are “binding on all

federal agencies.” 40 C.F.R. § 1500.3. These regulations require that, unless an activity is

“categorically excluded” from NEPA compliance, an agency must either prepare an EIS, or, at

the very least, an Environmental Assessment (“EA”) which is used to determine whether an EIS

is required. Id. § 1501.4.

       21.      Among the factors an agency must consider to determine whether a project may

have “significant” impacts, and therefore whether an EIS is required, are the “intensity” of the

action. Id. § 1508.27. Among other relevant factors, the intensity of the impact must be judged

based on:



                                                  8
            Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 9 of 26



        (a)      the degree to which the action may establish a precedent for future actions with
                 significant effects or represents a decision in principle about a future
                 consideration;

       (b)       the degree to which the effects on the quality of the human environment are
                 likely to be highly controversial [or are] highly uncertain;

       (c)       whether the action is related to other actions with individually insignificant but
                 cumulatively significant impacts; and

       (d)       whether the action threatens a violation of federal, state, or local law or
                 requirements imposed for the protection of the environment.

Id. § 1508.27.

       22.       Irrespective of whether an EIS is required, where an agency prepares an EA, the

regulations require that the EA reasonably address, inter alia, the need for the proposed action

and the reasonably foreseeable environmental impacts, in order to “provide sufficient evidence

and analysis for determining whether to prepare” an EIS. Id. § 1508.9. This includes

consideration of the cumulative impacts of the proposed action along with “other past, present,

and reasonably foreseeable future actions.” Id. §1508.7.

       23.       If, after preparing an EA, the agency concludes that an EIS is not necessary, it

must issue a Finding of No Significant Impact (“FONSI”) that adequately explains why the

project will “not have a significant effect on the human environment,” and an EIS will not be

prepared. Id. § 1508.13.

       B.        The TVA Act

       24.       Congress created TVA in 1933, directing the agency to, inter alia, promote “the

economic, environmental, social, or physical well-being of the people of the service area”

through its electricity rate-making. 16 U.S.C. § 831a(g)(1)(K)(ii). More specifically, the

original TVA Act mandates that TVA must be managed “for the benefit of the people . . . as a

whole and particularly the domestic and rural consumers to whom the power can be

                                                   9
          Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 10 of 26



economically made available, and accordingly that sale to and use by industry shall be a

secondary purpose, to be utilized principally to . . . permit domestic and rural use at the lowest

possible rates . . . .” Id. § 831(j).

        25.      In 1992, Congress added a “least-cost planning program” to TVA’s mandates,

requiring that TVA engage in a “planning and selection process for new energy resources which

evaluates the full range of existing and incremental resources (including new power supplies,

energy conservation and efficiency, and renewable energy resources) in order to provide

adequate and reliable service to electric customers of the Tennessee Valley Authority at the

lowest system cost.” 16 U.S.C. § 831m-1(b)(1). Congress further directed that this planning and

selection process, among other things, must “take into account the ability to verify energy

savings achieved through energy conservation and efficiency,” id. § 831m-1(b)(2)(ii), and also

that the “lowest system cost” include, inter alia, “all direct and quantifiable net costs for an

energy resource over its available life, including the cost of production, transportation, [and]

utilization . . . .” Id. at § (b)(3).

        26.      Finally, in 2004, Congress once again amended the TVA Act, expressly providing

that TVA’s mission includes “being a national leader in technological innovation, low-cost

power, and environmental stewardship.” 16 U.S.C. § 831a(b)(5). Thus, TVA recognizes that

the agency’s mission explicitly includes “[c]aring for the region’s natural resources.”

                        FACTS GIVING RISE TO PLAINTIFFS' CLAIMS

        A.       TVA’s Generation Of Electricity And Revenue Sources

        27.      TVA is the nation’s largest public power provider. It generates electricity for

most of Tennessee, northern Alabama, northeastern Mississippi, southwestern Kentucky, and

portions of northern Georgia, western North Carolina, and southwestern Virginia.



                                                  10
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 11 of 26



       28.     In 2017, nearly 50% of TVA’s electricity was generated from dirty fossil fuels.

Specifically, approximately 25% of TVA’s electricity was generated from eight TVA-owned

coal-fired power plants. In that year alone, these plants burned more than 42 billion pounds of

coal. Another 25% of TVA’s electricity came from other fossil fuel sources.

       29.     TVA serves approximately 9.7 million people with electricity, largely through

wholesale electricity sales to Local Power Companies (“LPCs”), who resell the power to retail

customers. These LPCs are municipalities and other local government entities, as well as

customer-owned entities.

       30.     TVA has wholesale power contracts with approximately 154 LPCs. These

wholesale power contracts specify the resale rates and charges at which the LPC must resell

TVA power to its customers. The two largest LPCs with whom TVA holds contracts—Memphis

Light, Gas and Water Division and Nashville Electric Service—accounted for 10% and 9%,

respectively, of TVA’s total operating revenues in 2017.

       31.     In addition to selling wholesale electricity to LPCs, TVA also directly sells

electricity to certain end-use customers—approximately 50 large commercial and industrial

consumers and federal agencies with electricity loads larger than 5,000 kilowatts.

       32.     TVA generates nearly all of its revenue from electricity sales.

       33.     In TVA’s service territory, households in the lowest income category pay more

than 15% of their annual income on electricity – and in some counties over 20% – leading these

communities to carry some of the highest energy burdens (the proportion of electricity costs to

total income) in the country. Thus, according to TVA itself, these communities are “the most

vulnerable to increases in electricity prices.”




                                                  11
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 12 of 26



       B.      Distributed Energy Resources In TVA’s Territory And TVA’s Resource
               Planning Process

       34.     In recent years, a small number of TVA customers—much like electricity

customers around the country—have invested in distributed energy resources (“DER”), which

include rooftop solar generation, energy efficiency measures, and energy storage. Distributed

Generation (“DG”) systems like rooftop solar panels generate pollution-free solar electricity,

which customers use in their own homes and businesses, and which offsets electricity bills in a

manner analogous to energy efficiency measures that similarly reduce customer reliance on

TVA’s dirty electricity.

       35.     In states within TVA’s service territory, less than 0.4% of electricity is generated

from DG; in some of the states TVA serves, this percentage is much lower. This proportion of

DG penetration is far less than the national average, which is almost 400% higher, and that of

high DG-penetration states such as California and Hawaii, which generate over 9% and 22%,

respectively, from DG.

       36.     TVA addresses DG and its integration into the grid through a “dual-meter”

system, whereby one meter tracks the TVA-generated electricity going into the home or facility,

while another tracks the power generated from the renewable energy system going into the grid.

For more than 10 years, TVA’s DG Rate – the rate paid for electricity generated from DG – has

been 10 cents/kWh.

       37.     While TVA has implemented several programs like dual-metering to address DG

development, TVA has never before expressly relied on its rate structure or general resource

planning process to address the addition of DG to the energy mix in TVA’s territory.




                                                12
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 13 of 26



       38.     In particular, in 2015, TVA prepared its most recent Integrated Resource Plan

(“IRP”) to “address the demand for power in the TVA service area, the resource options

available for meeting that demand, and the potential environmental, economic, and operating

impacts of these options.” Although the 2015 IRP, which was the subject of a separate EIS,

discussed ways in which TVA itself might invest in solar and other renewable resources, it

entirely failed to consider the environmental impacts associated with its customers’ increased

adoption of DER, characterizing that issue as “outside the scope of the IRP.” Thus, none of the

IRP alternatives directly addressed expanded DER development in TVA’s service territory.

       39.     In February, 2018 TVA announced it is updating the IRP, and requested initial

comments on the IRP’s scope. 83 Fed. Reg. 6,668 (Feb. 14, 2018). TVA explained the 2015

IRP is being updated “in response to major changes in the electrical utility industry,” particularly

“advances in the development of distributed energy resources,” and will assess the impacts of

“alternative portfolios of energy resource options” in light of the fact that “consumer demand for

renewable and distributed energy resources . . . is growing.” Id. (emphasis added). Thus, the

new IRP—which has not yet been prepared—will address, inter alia, “the availability and use

of” DER, the “effects of power production on the environment, including climate change,”

“emissions of greenhouse gases” and “air quality,” and “how [DER should] be considered in

TVA planning.” Id.

       40.     In late July, 2018, TVA issued a “Scoping Report” summarizing comments on the

new IRP, and outlining the scenarios that will be considered in the upcoming IRP process.

These scenarios include one in which “DER is incentivized to achieve high-end of long-term

penetration goals,” and another that includes incentivizing “renewables at all scales to meet

growing prospective or existing customer demands for renewable energy.”



                                                13
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 14 of 26



       41.     TVA expects the new IRP and accompanying EIS—which apparently will, for the

first time, seek to address the role of DER in TVA’s power-supply mix—to be completed

sometime in 2019.

       C.      TVA’s 2018 Anti-Solar Rate Change Proposal And Draft
               Environmental Assessment

       42.      TVA maintains that DER constitutes “competition in the form of emerging

technologies,” and has explained, in a filing with the Securities and Exchange Commission, that

it views customer adoption of DER as “operational risks” that it must address, because “TVA

effectively loses revenue on energy that DER send[s] to the grid.”

       43.     To address these concerns, in the summer of 2017 TVA informed its LPCs that it

was working to develop a new rate structure that would, inter alia, (a) reduce rates for large

commercial customers; (b) for the first time impose a new GAC; and (c) reduce rates for those

using the most electricity. Subsequently, in March, 2018, the agency issued a Draft

Environmental Assessment (“Draft EA”) concerning these proposed Anti-Solar Rate Changes.

       44.     The Draft EA purported to consider the environmental impacts associated with

TVA’s proposal to decrease electricity rates for certain large commercial customers. As TVA

explained, unless these electricity rates for large corporations are reduced, those large customers

will have “increased incentives to pursue uneconomic DER.” Put another way, as TVA

explained elsewhere, TVA “wants to reduce wholesale energy prices” to purposefully remove

“DER incentives” and obstruct DER adoption by larger corporations. In order to recoup the at

least $23 million revenue loss from large commercial customers, TVA explained it would

increase energy rates for other customers.




                                                14
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 15 of 26



       45.     Separately, the Draft EA purported to consider the environmental impacts of the

new Grid Access Charge (“GAC”). Under that rate change, TVA proposed to reduce the

existing wholesale standard service charge for electricity by a certain amount, ranging from 0.25

cents per kWh to 2.5 cents per kWh. TVA’s preferred alternative in the Draft EA was to reduce

the service charge by 1 cent per kWh, which, as TVA explained, would reduce “seasonal

wholesale standard service energy charges by $1.2 billion.”

       46.     To recoup this $1.2 billion dollars, the Draft EA purported to consider the impacts

of TVA, for the first time, imposing a GAC on all LPCs. TVA explained that it expected the

fixed fees in the GAC to be passed on to the LPCs’ retail customers, who would be required to

pay a fixed fee regardless of the amount of electricity they used.

       47.     Finally, the Draft EA considered lowering rates for customers who use the most

electricity by decreasing electricity rates for those customers using more than approximately

1,000 kWh per billing period.

       48.     Attempting to justify these Anti-Solar Rate Changes, in the Draft EA TVA raised

concerns about the impact of high levels of DER penetration on utilities by heavily relying on a

manual issued by the National Association of Regulatory Utility Commissioners (“NARUC

Manual”). However, TVA failed to mention that the NARUC Manual explicitly warns against

manipulating customer electricity rates in order to address DER adoption in jurisdictions, like

TVA’s service territory, where there is “currently low DER adoption levels and with current

policies not designed to spur DER growth.” As the NARUC Manual acknowledges, rate changes

that are “not well thought out could set policies and implement rate design mechanisms that have

unintended consequences such as potentially discouraging customers from investing in DER.”




                                                15
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 16 of 26



       49.     If TVA’s Anti-Solar Rate Changes fulfill their intended purpose to reduce DER

deployment that would otherwise occur in TVA’s service territory, TVA will continue

generating more central power electricity than it would have under the status quo—where there

would be more DER development, and thus less demand for fossil fuel electricity. This result, in

turn, will have concrete public health and environmental impacts due to the toxic air and

greenhouse gas pollution from TVA’s fossil fuel power plants.

       50.     However, in the Draft EA, TVA stated that “there would generally be no variation

in impacts to the environment among alternatives.” In particular, because, as TVA asserted,

“none of the alternative rate changes is substantive enough to result in market responses and

customer behavior changes,” the agency concluded that “there would be no discernible impacts

to air resources, water resources, land use, or waste production” from any of the alternatives

considered.

       D.      Plaintiffs’ Comments On The Draft EA

       51.     TVA provided only thirty days to comment on the Draft EA, rejecting public

requests for an extension of the comment period and for public hearings.

       52.     Nonetheless, numerous comments were submitted opposing the Anti-Solar Rate

Changes, including from Plaintiffs. For example, in their comments, the Center for Biological

Diversity explained that, contrary to TVA’s predictions, substantial research demonstrates that

customers considering investing in DG are highly sensitive to changes in retail rate structures

that make DG less attractive. The Center also explained that TVA’s Anti-Solar Rate Changes

are entirely unnecessary because, as other research demonstrates, given the extremely low levels

of DG in TVA’s service territory, the impacts of DG on overall electricity prices will remain

negligible for many years. The Center also explained that, contrary to TVA’s claim that DG is



                                                16
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 17 of 26



“uneconomic,” in fact it adds value by, inter alia, avoiding greenhouse gas emissions and water

use, increasing grid resilience, and providing economic development and jobs creation.

       53.        The Center also explained that the Draft EA failed to properly consider the

environmental impact of the Anti-Solar Rate Changes, and that an EIS is necessary in light of

both those impacts and the fact that these changes, inter alia, (a) establish a new precedent with

significant effects; (b) are highly controversial, and (c) threaten to violate the TVA’s statutory

mandate to support environmental stewardship and prioritize residential over commercial

customers.

       54.        As another example, in their comments, Plaintiff the Southern Alliance for Clean

Energy (“SACE”) explained that TVA’s proposal to favor industrial customers over residential

customers is particularly inappropriate given that over 40% of households in TVA’s service

territory are low income consumers who can least afford the increased bills TVA is imposing in

order to further subsidize industrial customers. SACE also explained that the substantial

negative effects of the Anti-Solar Rate Changes, on both DER adoption and energy efficiency,

will inevitably lead TVA to rely more heavily on fossil fuel generation, with negative

environmental impacts.

       55.        As one further example, in their comments, the Tennessee Department of

Environment and Conservation (“TDEC”) expressed concerns that, by charging customers less

when they use more energy, the Anti-Solar Rate Changes will “penalize those who have made

weatherization and/or energy efficiency improvements.” TDEC also raised concerns regarding

the “demographic composition and economic status of the population expected to experience a

rate increase.”




                                                  17
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 18 of 26



       56.     TDEC also discussed the value of DER for companies, and raised concerns that

“[b]y reducing energy rates and increasing fixed fees, the economics of microgrids and reliability

projects become more burdensome for mission-critical customers.” TDEC also urged TVA to

“monetize impacts of pollution associated with different fuel types” used by TVA, explaining

that taking that into account “may shift how DER are valued under the TVA rate structure.”

       57.     Like other commenters, TDEC also raised concerns about whether TVA had

adequately addressed the “changes in TVA power generation and any resulting ambient air

pollution or GHG levels” from the Anti-Solar Rate Changes, recommending that “TVA consider

the full picture of DER, energy efficiency, and potential energy usage rates when assessing

potential GHG emissions” and other impacts of the proposal. TDEC further explained that TVA

should “further study and report on the impact of GHG emissions from increased DER,”

explaining that “[b]y reducing energy rates to dis-incentivize DER, TVA will limit or inhibit

GHG-reducing projects including solar, CHP, and wind.” As TDEC also noted, “[i]ncreasing

interest in on-site generation coupled with rapidly declining costs for these projects could mean

that a greater number of projects could be completed if TVA” kept its current rate structure,

“thereby reducing GHG emissions in the Valley.”

       E.      TVA’s Final EA On The Anti-Solar Rate Changes

       58.     Despite these comments and concerns, in early May 2018 TVA finalized its EA

and issued an accompanying Finding of No Significant Impact (“FONSI”) concluding that an

EIS is not necessary. TVA explained that it was imposing the Anti-Solar Rate Changes because

“the current pricing structure over-incentivize[s] consumer installation of distributed energy

resources (DER) . . . .” According to TVA, since it is faced with “flat or even declining” need

for power, and thus “little need for new energy sources,” the Anti-Solar Rate Changes are needed



                                                18
           Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 19 of 26



to address the “imbalance created by uneconomic DER development.” In short, TVA explained

that addressing future DER development “is a primary reason why TVA has proposed a rate

change.”

       59.     The Final EA also emphasized TVA’s “immediate concern” with leading

“commercial customers” who are “taking on sustainability goals and committing to purchase up

to 100% of their energy resources from renewable resources.” Without the Anti-Solar Rate

Changes, TVA explained, these customers will continue to have “increased incentives to pursue

uneconomic DER.”

       60.     To address these purported concerns, in the Final EA, TVA first proposed to

“lower energy rates for large general service customers” by at least $23 million. By lowering

rates, TVA can reduce those customers’ economic interest in investing in renewable energy,

since they will achieve less savings from that transition than would occur under the current rate

structure. To “maintain TVA revenue neutrality,” TVA will increase rates on other customers to

make up the savings to the large general service customers.

       61.     Second, the Final EA recommended that TVA reduce the wholesale standard

service energy rate by 0.5 cent/kWh, and recoup that lost revenue through the GAC. Since the

Draft EA stated that a 1 cent per kWh reduction in rates would have shifted $1.2 billion in

revenue to the GAC, this revised final proposal of a 0.5 cent/kWh reduction in wholesale rates

should shift approximately $600 million in revenue from volumetric charges, under which

customers’ electricity rates are based on their electricity usage, to fixed charges, under which a

portion of customers’ electricity rates are set regardless of electricity use.




                                                  19
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 20 of 26



       62.     Importantly, TVA asserted that it will “design default retail rate structures and

rate levels for each LPC” that will pass along the new fixed charges to retail customers.

However, although the Final EA also claimed that those default rates will limit the increase that

residential customers will pay per month as a result of these changes, TVA did not explain at all

how this will be accomplished.

       63.     Third, in the Final EA, TVA proposed to lower rates for customers who use the

most electricity. Under the default rates, TVA anticipates customers consuming up to 1,000

kWh per month will see rate increases, and increases in their monthly bills of up to

approximately 2%. At the same time, TVA anticipates that customers who use more than 1,000

kWh per month will see a rate decrease and, for the very largest energy consumers, a decrease in

their monthly bills of more than 3%. The Final EA included a chart showing how those who use

less energy will pay more, while those using more energy will pay less, reproduced below.




                                                20
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 21 of 26




       64.     Overall, these Anti-Solar Rate Changes will not only reduce customer investment

in DG, but will also concretely reduce incentives for energy efficiency or other measures that

will lessen electricity usage, as customers will be perversely paying less for using more

electricity. TVA recognized that “price can be an important driver that explains changes in

demand” and asserted that under the proposed alternative, “the penetration of DER may be

slowed marginally.” TVA also stated the Anti-Solar Rate Changes would have “positive effects”

on large commercial customers while having “negative effects” on residential and other standard

service customers.

       65.     Despite these statements, TVA failed to analyze the corresponding impacts of the

Rate Changes on the environment. Rather, the Final EA, like the Draft EA, concluded that “none


                                                21
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 22 of 26



of the alternative rate changes is substantial enough to result in market responses and customer

behavior changes that would require TVA to modify its power generation operations.” Thus,

contrary to the entire premise of the Anti-Solar Rate Changes—which is to discourage DER—for

purposes of evaluating environmental impacts, TVA claimed that the revised rate structure will

“not discourage energy efficiency or investment in DER.” Indeed, in the Draft EA, TVA

concluded that a GAC of 2.5 cents/per kWh—five times the amount of the GAC to be imposed—

would still be “unlikely to influence the rate of investment in DER among TVA consumers.”

       66.     Based on that premise, in the Final EA, TVA maintained that the Anti-Solar Rate

Changes will have “no discernible impacts to air resources, water resources, land use” or other

environmental impacts. As a result, TVA provided no analysis or prediction as to the anticipated

reduced load on central TVA power from DER and energy efficiency initiatives under either the

no-action scenario or the alternatives, and thus no basis on which to compare the relative

environmental impacts of the alternatives considered.

       67.     In the Final EA, TVA also concluded that there would be no environmental

benefits from the no-action alternative—i.e., that the additional DG from homeowners and

commercial companies that the Anti-Solar Rate Changes are expressly designed to discourage

would not reduce the amount of energy TVA generates through coal, gas and other sources.

Rather, claiming that such changes “remain speculative,” TVA entirely ignored the concrete

environmental benefits from transitioning to DER, including solar technologies, as compared to

central TVA power.

       68.     In the FONSI accompanying the Final EA, TVA once again reiterated its

conclusion that the agency’s “current energy prices over-incentivize consumer installation of




                                                22
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 23 of 26



DER,” and that the Anti-Solar Rate Changes are therefore necessary to “mitigate[e] the effects of

uneconomic development in distributed energy resources (DER).”

       69.       In choosing the alternative of a 0.5 cent/kWh GAC, TVA explained that this

option will “allow for a gradual transition and provide TVA an opportunity to make appropriate

adjustments in future rate corrections if necessary” —i.e., if the initial GAC does not produce the

desired reductions in DER development.

       70.       According to the FONSI, TVA expects that under the chosen GAC, “the

penetration of DER may be slowed marginally.” In the FONSI, TVA also determined that high-

energy usage households will save money from these changes, while low-energy usage

households will see increased energy bills.

       71.       As in the Final EA, in the FONSI TVA also concluded that “none of the

alternative rate changes is substantive enough to result in market responses and customer

behavior changes that would require TVA to modify its power generation operations.”

       72.       Based on that premise, the FONSI concluded that the Anti-Solar Rate Changes

will have no discernible environmental impacts, and that “an environmental impact statement is

not required.”

       F.        The Reduction In The DG Rate, And The TVA Board’s Approval Of The
                 Anti-Solar Rate Changes

       73.       On April 18, 2018, TVA, for the first time, reduced the compensation paid for the

electricity generated by DER. Although, for more than ten years, TVA has paid 10 cents/kWh

for the electricity generated by homeowners who install DER systems, as of this year TVA has

lowered that rate to 9 cents/kWh, further reducing the value of investing in DER. The Final EA

does not mention this contemporaneous rate change, or address the synergistic effect of this rate

change with the Anti-Solar Rate Changes discussed in the EA.

                                                 23
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 24 of 26



       74.     At its May 10, 2018 meeting, the TVA Board considered a Proposed Board

Resolution approving the Anti-Solar Rate Changes considered in the EA. Spokespeople for

numerous groups gave oral testimony against the proposed changes, including the Tennessee

Small Business Alliance, the NAACP, and several Plaintiffs.

       75.     Despite these myriad public concerns, the Anti-Solar Rate changes addressed in

the EA were initially approved by the Board on a voice vote.

       76.     On August 23, 2018, the TVA Board held its most recent meeting, during which

the Minutes of the May 10, 2018 meeting were approved. On information and belief, the

Board’s approval of the Minutes rendered the Anti-Solar Rate Changes approved at the May

meeting a final decision by TVA.

                             PLAINTIFFS’ CLAIM FOR RELIEF

       77.     By completing an EA that does not meaningfully address the environmental

impacts of TVA’s Anti-Solar Rate Changes, and by issuing a FONSI and approving the Anti-

Solar Rate Changes based on that EA, TVA is violating NEPA and its implementing regulations,

and is acting in a manner that is arbitrary and capricious and contrary to law in violation of the

APA. 5 U.S.C. § 706.

       78.     By failing to consider the EA’s Anti-Solar Rate Changes along with the reduction

in the DG Rate, TVA is unlawfully segmenting the environmental impacts of its actions in

violation of NEPA and its implementing regulations, and is acting in a manner that is arbitrary

and capricious and contrary to law in violation of the APA. 5 U.S.C. § 706.

       79.     By failing to prepare an EIS on the Anti-Solar Rate Changes, which, inter alia, (a)

“may establish a precedent for future action with significant effects”; (b) will have “highly

controversial” and “highly uncertain” effects; (c) is related to other actions with cumulatively



                                                 24
         Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 25 of 26



significant impacts; and/or (d) “threatens a violation” of the TVA Act, 40 C.F.R. § 1508.27,

TVA is violating NEPA and its implementing regulations, and is acting in a manner that is

arbitrary and capricious and contrary to law in violation of the APA. 5 U.S.C. § 706.

       80.     By making a final decision on the Anti-Solar Rate Changes before completing its

2019 IRP, in which TVA will, for the first time, address, inter alia, “the availability and use of”

DER, the “effects of power production on the environment, including climate change,”

“emissions of greenhouse gases” and “air quality,” and “how [DER should] be considered in

TVA planning,” TVA is violating NEPA and its implementing regulations, and is acting in a

manner that is arbitrary and capricious and contrary to law in violation of the APA. 5 U.S.C. §

706.

       81.     These violations are injuring Plaintiffs in the manner described in Paragraphs 8-

17 above.

                                    PRAYER FOR RELIEF


       WHEREFORE, Plaintiffs respectfully request that this Court:

       1.      declare that TVA has violated NEPA and the APA;

       2.      set aside and remand the TVA’s FONSI and the 2018 Anti-Solar Rate Changes;

       3.      vacate TVA’s decision to impose the 2018 Anti-Solar Rate Changes, and direct

that TVA comply with NEPA by preparing an EIS before implementing any component of the

Anti-Solar Rate Changes;

       4.      retain jurisdiction of this matter until TVA has come into compliance with NEPA

and the APA;

       5.      award Plaintiffs their costs, attorneys’ fees, and other disbursements for this

action, including any expert witness fees; and

                                                 25
           Case 3:18-cv-01446-LCB Document 1 Filed 09/06/18 Page 26 of 26



          6.   grant Plaintiffs such other and further relief as the Court may deem just and

proper.



DATED: September 6, 2018                     Respectfully submitted,

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                                                26
